Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 1 of 17

                                                         FILED            LODGED


                                                       Nov 17 2020
                                                         CLERK U.S. DISTRICT COURT
                                                            DISTRICT OF ARIZONA
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 2 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 3 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 4 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 5 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 6 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 7 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 8 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 9 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 10 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 11 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 12 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 13 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 14 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 15 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 16 of 17
Case 2:20-cv-02193-DWL--CDB Document 4 Filed 11/17/20 Page 17 of 17
